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                           UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division


UNITED STATES OF AMERICA,                       )
                                                )
                                                )    Case No: 1:19-cr-00057-LO
         v.                                     )
                                                )
PETER LE, et al.                                )
                                                )
                 Defendant.                     )

              MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                         MOTION TO DISMISS COUNTS 2 FOR
               SELECTIVE ENFORCEMENT AND SELECTIVE PROSECUTION

                 COMES NOW Defendant Spencer Pak, by and through counsel, Alan J. Cilman,

and respectfully submits the following Memorandum of Points and Authorities in Support of his

“Motion to Dismiss for Selective Enforcement and Selective Prosecution Count 1,

Subparagraphs (2), (3), (7), (8) and (12), and Counts 17 and 18”:

I.      Facts

         The facts are set forth in the motion and in the interest of brevity will be incorporated

herein in haec verba.

II.    Argument

         A. Selective Enforcement and Selective Prosecution Violates the Equal Protection
            Clause of the 14th Amendment

         The 14th Amendment to the Constitution of the United States of America provides inter

alia that “nor shall any State … deny to any person within its jurisdiction the equal protection of

the laws.”
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       In 1886, the Supreme Court of the United States found that selective enforcement of the

law and selective prosecution of individuals because of their ethnic background violated the

principle of equal justice:


       Though the law itself be fair on its face, and impartial in appearance, yet, if it is
       applied and administered by public authority with an evil eye and an unequal hand,
       so as practically to make unjust and illegal discriminations between persons in
       similar circumstances, material to their rights, the denial of equal justice is still
       within the prohibition of the constitution.

       Yick Wo v. Hopkins, 118 U.S. 356, 373-374, 6 S.Ct. 1064, 30 L.Ed. 220 (1886); See also,

Hunter v. Underwood, 471 U.S. 222, 105 S.Ct. 1916, 85 L.Ed.2d 222 (1985)

       The great disparity in treatment between those individuals and entities, who have the

Administration’s tacit approval to distribute marijuana and the defendant, who is not favored, is

the exact issue the Courts in the cases cited in the previous paragraph sought prevent.

III. Conclusion.

       WHEREFORE, in consideration of the foregoing, and such other matters as may become

evident at a hearing hereon, which hearing is hereby requested, this Court is requested to grant

the relief sought herein, and/or order such other and further relief as in the cause is deemed just

and proper.

                                                              Respectfully Submitted,

                                                              Spencer Pak
                                                              By Counsel


s/Alan J. Cilman
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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 19th day of September 2019, I will electronically file the
foregoing with the Clerk of Court using the CM/ECF system, which will then send a notification
of such filing (NEF) to the following:

James Trump, AUSA and the other attorneys of record on behalf of the United States
Office of the United States Attorney
2100 Jamieson Avenue
Alexandria, VA 22314

and, each of the attorneys of record for the co-defendants.


                                                     ______/s/______________
                                                     Alan J. Cilman
                                                     Virginia State Bar #13066
                                                     Counsel for Defendant
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